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                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                 100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt              POTTER STEWART U.S. COURTHOUSE                   Tel. (513) 564-7000
       Clerk                        CINCINNATI, OHIO 45202-3988                 www.ca6.uscourts.gov




                                                  Filed: August 14, 2023

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                     Re: Case No. 22-3952, John Koe v. University Hospitals Health Systems, Inc., et al
                         Originating Case No. 1:22-cv-01455

Dear Mr. Koe and Counsel,

    The briefing schedule for this case has been reset and the briefs listed below must be filed
with the Clerk's office no later than these dates. The appellant must serve his brief by mailing it
to all opposing counsel.

                                                         1 signed original
           Appellant's Brief                             Limit of 30 pages or 13,000 words
                                                         Mailed by October 16, 2023

           Appellee's Brief
           Appendix (if required by 6th                  Filed electronically by November 15, 2023
            Cir. R. 30(a) and (c))

           Appellant's Reply Brief                       Mailed 24 days after
           (Optional Brief)                              the appellee's brief
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   Do not staple, paper clip, tab or bind pro se motions or briefs sent to the Clerk's office --
these documents are scanned and staples etc. create paper jams.

   If you have questions about filing the briefs, refer to the initial briefing schedule letter or to
the Court's web site www.ca6.uscourts.gov. If you still have questions after reviewing the
information on the web site, please contact the Clerk's office.

                                                    Sincerely yours,

                                                    s/Virginia Lee Padgett
                                                    Case Manager
                                                    Direct Dial No. 513-564-7032
